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                        EXHIBIT U
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           Attorneys for Sheriff, Police Chief, and
      8    Chief Probation Intervenor-Defendants
      9
 10                               1N THE UNITED STATES. DISTRICT COURTS
 11                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 12                           AND THE NORTHERN. DISTRICT OF CALIFORNIA
 13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 14                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
          RALPH         COLEMAN, et al.,                     Case   No: civ s-90-0520 LKK JFM P
 16
                           Plaintiffs,                       THREE,JUDGE COURT
 17
                  VS.
18
          ARNOLD         SCHWARZENEGGER, et
 19       al.,
 20                        Defendants.
 21
                                                             [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
22
                                                             Case No.: C01-1351 TEH
23        MARCIANO          PLATA, et al.,
                                                             THREE-JUDGE COURT
24                         Plaintiffs,-
                                                             INTERVENOR•DEFENDANT BUTTE
25                vs.                                        COUNTY SHERIFF'S RESPONSES TO
                                                             PLAINTIFFS' FIRST SET OF
26        ARNOLD         SCHWARZENEGGER, et                  INTERROGATORIES
          al.,
27
                           Defendants.
28

             INTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           PROPOUNDING PARTIES;                      Plaintiffs, MARCIANO PLATA, et al.
      2    RESPONDING PARTY:                         Intervenor-Defendant, BUTTE COUNTY SHERIFF
      3    SET NUMBER:                               One (1)
      4             TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
      5             Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant Butte
      6    County Sheriff separately and fully responds to Plaintiffs' First Set of Interrogatories as
      7    follows:
      8                          Preliminary Statement and General Objections
                    1.     Intervenor-Defendant has not completed investigationof the facts relating
 10        to this case, has not completed discovery in this action and has not completed preparation
 11       .fortrial. Therefore, these responses, while based on diligent factuai exploration, reflect
 12        only Interven0r-Defendant's current state of knowledge, understanding, and belief with
 13       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 14       the right to supplement these responses with subsequently obtained or discovered
 15       information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 16       notwithstanding these answers and responses, to employ at trial or in any pretria !
 17       proceeding herein information subsequently obtained or discovered, information the
 18       materiality of which is not presently ascertained, or information Intervenor-Defendant
 19       does notregard as coming within the scope of the interrogatories as Intervenor-Defendanl
20        understands them.
21                 2.         These responses are made solely for the purpose of this action. Each
22        answer        is subject to all objections as to competence, relevance, materiality, propriety,
23        admissibility, privacy, privilege, and any and all other objections that would.require
24        exclusion of any statement contained herein if any such interrogatories were asked of, or
25        any statement contained herein if any Such           interrogatories   were   asked of, or any
26        statement contained herein were made by, a witness present and testifying in court, all of
27        which objections and grounds are reserved and may be interposed at the time of trial.
28                 3.         Except for explicit facts admitted herein, no incidental or implied
                                                         -2-
            INTERVENOR:DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          admissions are intended hereby. Intervenor-Defendant' s. answers or Objections to any
          interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
          In addition, each of Intervenor-Defendant's answers to an interrogatory Or part of any
          interrogatory is not a waiver of part or all of any objection he might make,to that
          interrogatory, or an admission that such answer or objection constitutes admissible
  6       evidence. Intervenor-Defendant asserts these objections without waiving or intending to
  7       waive any objections as to competency, relevancy, materiality or privilege.
      8           4.      To the extent Intervenor-Defendant responds to these interrogatories, the
  9       responses will not include information protected by the right of privacy: All objections
 10       on the grounds of constitutional and common law privacy rights are
                                                                                   expressly preserved.
 11               5.       IntervenoriDefendant objects to each and every interrogatory to the extent
 12       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 13       this action nor reasonably calculated to lead to the .discovery of admissible evidence.
 14                  6.   Intervenor-Defendant objects to the      Interrogatories to the extent that they
 15       are   vague and ambiguous and do not include adequate definition, specificity, or limiting
 t6       factors.
 17                  7o   Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 18       the term "PERSON." The definition is vague, ambiguous, and overbroad as used in these
          Inten'ogatories.
 20              Subject to and without waiving the foregoing objections, and incorporating them
 21       by reference into each of the responses provided below, Intervenor-Defendant hereby
 22       responds as follows:
 23       INTERROGATORY NO. 1:
 24               From January 1, 1995 until the present, have any limit(s) been in place, as the
 25       result of any lawsuit, on the number of people that can be housed in any jail operated
 26       and/or maintained by YOU? If so:
 27                      (a) State the name, date and case number of every case which resulted ir
 28       any such limit(s).
                                                           -3-
            INTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          RESPONSE TO INTERROGATORY NO. 1:
      2          In addition to the General Objections stated above, Intervenor-Defendant objects
      3   to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      4   extent that it seeks information not relevant to this litigation nor reasonably calculated to

      5   lead to the discovery of admissible evidence.
      6          Without waiving and subject to the objections, Interven0r-Defendant responds that
      7   from January 1, 1995 until present, limits have been in place as a result of a stipulation
      8   order in Floyd E. Jones et al. v. Hal Brooks, as the Sheriff of the County of Butte et al.
      9   NO.84429 December 23, 1985.
 !0       INTERROGATORY NO. 2:
 11              In any instance, from January      1, 1995 until the present, in which any limit(s) have
 12       been in place on the number of people that can be housed in any jail operated and/or
 13       maintained by YOU, what mechanisms were used to comply .with those limits?
 14                      (a)     Identify all DOCUMENTS which relate to YOUR answer.
 15                      (b)     Identify all PERSONS whom YOU believe or suspect have
 16       information to support YOUR        answer.

 17       RESPONSE TO INTERROGATORY. NO. 2:
 18              In addition to the General. Objections stated above, Intervenor-Defendant objects
 19       to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 20       extent that it seeks information not relevant to this litigation nor reasonably calculated to
 21       lead to the discovery O f admissible evidence.
 22               Without waiving and subject to the objections, Intervenor-Defendant responds that
 23       from January 1, 1995 •until present, Butte County utilizes Accelerated Release, Cite and
 24       Release, and Custody Alternative Programs.
 25              (a) Stipulation Order in FloydE. Jones et al. v. Hal Brooks, as the Sheriff of
 26       the County of Butte et al. 84429 December 23, 1985; Butte County Sheriff's Office
 27       Corrections Division: Jail Information Handbook.
 28              (b) Captain Jerry J•ones.
            INTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET-OF INTERROGAToRIEs
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           INTERROGATORY NO. 3:
      2             From January       1, 1995 until present, how many people have had their releases from
      3    any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
      4    on   the number of people that can be housed in that jail?
      5                    (a)       Identify all DOCUMENTS which relate to YOUR answer.
      6                    (b)       Identify all PERSONS whom YOU believe or suspect have
      7    information to support YOUR           answer.

      8    RESPONSE TO INTERROGATORY NO. 3:
      9            In addition to the General      Objections stated above, Intervenor-Defendant objects
 10        to this inte_rrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
 11        extent that it seeks     information not relevant to this litigation nor reasonably calculated to
 12        lead to the discovery of admissible evidence.
 13                Without waiving and subject to the objections, Intervenor-Defendant responds
 14       from January     1, 1995 until present, 2,501 people have been release based on the
 15       population cap limits.
 16              (a) Stipulation order in .Fl.oyd E. Jones et al. v. Hal Brooks, as the Sheriff ofth•
 17       County of Butte et al. 84429 December 23, 1985; computer printout titled Early Release
 18       Summary; Butte County Sheriff's Office Corrections Division: Jail Information
 19       Handbook.
20                 (b)    Captain Jerry Jones.
21        INTERROGATORY NO. 4:
22                What ALTERNATIVE PLACEMENT PROGRAMS have been in existence,
23        January 1, 1995 until present, in any county in which YOU operate and/or maintain a
24        jail?
25                      (a) For each such program, describe the mission and/or purpose of the
26        placement program.
27                      (b) For each such program, identify what criteria are used tO decide who
28        may enter the program.
                                                             -5-
            INTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAIN'rIFFS' FIRST SET OF INTERROGATORIES
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                          (c)      Identify all DOCUMENTS which relate to YOUR answer.
      2                   (d)      Identify all PERSONS whom YOU believe or suspect have
      3    information to support YOUR         answer.

      4   RESPONSE TO I[NTERROGATOR¥ NO. 4:
      5          In addition to the General Objections stated above, Intervenor-Defendant objects
      6   to this inten'ogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
      7   extent that it seeks    information not relevant to this litigation nor reasonably calculated to
      8   lead to the discovery of admissible evidence.
      9          Without waiving and subject to the objections, Intervenor-Defendant responds that
 10       from January 1, 1995 until present, Butte County utilizes Home Electronic Monitoring
 11       and a Work Alternative Program°
 I2              (a)     Pursuant to Federal Rules of Civil Procedure 33 (d) see Stipulation Order in
 13       Floyd E. Jones et al. v. Hal Brooks, as the Sheriff of the County of Butte et al. 84429
 14       December 23, 1985, Board of Supervisors Resolution No: 84-184, and Butte County
 15       SherifFs Office Corrections Division: dail Information Handbook, which are produced in
 16       response to Plaintiff's First Request for Production of Documents. Pursuant to Federal
 17       Rules of Civil Procedure 33 (d) see also Butte County Board of Supervisors Resolution
 18       No. 84-184.
 19               (b)       Pursuant to Federal Rules of Civil Procedure 33 (d) see Stipulation Order
 2O       in Floyd E. Jones et al. v. Hal Brooks, as the Sheriff of the County of Butte et al. 84429
 21       December 23, 1985, Board of Supervisors Resolution No. 84-184, Butte County Sheriff•
 22       Office Corrections Division: dail Information Handbook which are produced in response
 23       to Plaintiff's First Request for Production of Documents. Pursuant to Federal Rules of

 24       Civil Procedure 33 (d) see also Butte County Board of Supervisors Resolution No. 84-
 25       184.
 26              (c) Stipulation order in Floyd E. Jones et al..v. Hal Brooks, as the Sheriff of th¢
27        County/of Butte et al. No. 84429 dated December 23, 1985; Butte County Sheriff's
28        Office Corrections Division: •rai! Information Handbook; and Butte County Board of
                                                           -6-
            INTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROOATOR1ES
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            Supervisors Resolution No. 84-184.
      2            (d) Captain Jerry Jones.
        3
      4
      5
      6     DATED:      April 11, 2008                    Respectfully submitted,

                                                                 (ivy. M•.•
                                                          JONES & MAYER
      7
      8
      9
                                                          By:
                                                                  Atto•eys for Sheriff, Probation, Poli•e
  10                                                              Chief, and CorrectionsIntervenor-
                                                                  Defendants
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            ]NTERVENOR-DEFENDANT BUTTE COUNTY SHERIFF'S RI•SPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
